

ON CONFESSION OF ERROR

PER CURIAM.
Based on Appellee’s proper confession of error and our own independent review of the record, we reverse the trial court’s non-final order compelling appraisal and remand for an evidentiary hearing to determine whether post-loss requirements were sufficiently complied with under the policy. See Citizens Prop. Ins. Corp. v. Gutierrez, 59 So.3d 177 (Fla. 3d DCA 2011); Citizens Prop. Ins. Corp. v. Mango Hill Condo. Ass’n 12, 54 So.3d 578 (Fla. 3d DCA 2011); Citizens Prop. Ins. Corp. v. Maytin, 51 So.3d 591 (Fla. 3d DCA 2010); Citizens Prop. Ins. Corp. v. Galeria Villas *593Condo. Ass’n, 48 So.3d 188 (Fla. 3d DCA 2010).
Reversed and remanded.
